Case 1:12-cv-00254-GZS Document 12-18 Filed 02/18/13 Page 1 of 3   PageID #: 175




                       UNITED STATES DISTRICT COURT
                            DISTRICT OF MAINE


 PENOBSCOT NATION,                        )
                                          )
 Plaintiff,                               )     Docket # 1:12-cv-00254-GZS
                                          )
 v.                                       )
                                          )
 WILLIAM SCHNEIDER, et al.,               )
                                          )
 Defendants                               )


                                   EXHIBIT R

                                     TO

                         MOTION TO INTERVENE OF
         CITY OF BREWER, TOWN OF BUCKSPORT, COVANTA MAINE, LLC,
      TOWN OF EAST MILLINOCKET, GREAT NORTHERN PAPER COMPANY, LLC,
        GUILFORD-SANGERVILLE SANITARY DISTRICT, TOWN OF HOWLAND,
                KRUGER ENERGY (USA) INC., TOWN OF LINCOLN,
         LINCOLN PAPER AND TISSUE, LLC., LINCOLN SANITARY DISTRICT,
      TOWN OF MATTAWAMKEAG, TOWN OF MILLINOCKET, TOWN OF ORONO,
              RED SHIELD ACQUISITION LLC, TRUE TEXTILES, INC.,
               VEAZIE SEWER DISTRICT, AND VERSO PAPER CORP.
Case 1:12-cv-00254-GZS Document 12-18 Filed 02/18/13 Page 2 of 3                                PageID #: 176




                                     UN ITED STATES DISTR ICT COURT
                                           DISTR ICT OF MAINE

 PENOBSCOT NATION,

                              Plaintiff,
                                                                     Docket No. I: 12-cv-002S4-G ZS
                  v.

 WILLIAM SCHNEIDER, et a\. ,

                               Defendants



                                                   AFFIDAVIT OF
                                                  NEHL ALDRIDGE

                  I.   My name is Nehl Aldridge. I am the EHS Manager at Verso Paper Corp.

                  2.   Verso ow ns the pul p and paper mill in Bucksport, Maine, located on the

 Penobscot River. Verso ow ns and operates the mill 's wastewater treatment plant, wh ich

 discharges treated wastewater to the Penobscot River.

                  3.   Verso's interest in thi s proceeding is to ensure that its operations wi ll not be

 subj ect to regu lation by the Penobscot Nation, whi ch has asserted that its Reservation includes

 the Penobscot Ri ver, and that it is entitl ed to regul ate the waters of that River as well as

 discharges that mi ght affect upstream reac hes of the Pe nobscot River.




 N'clliAldri dge




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Case 1:12-cv-00254-GZS Document 12-18 Filed 02/18/13 Page 3 of 3                                    PageID #: 177



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 STATE OF MAINE"
 <S'fWl.B,/ COUrJr!                        , SS

 Personall y appeared before me on the -30111 day of JJOv€±1&/l, 20 12, the above named, Nehl
 Aldridge, and gave oath that the foregoing is true and based upon hi s personal know ledge,
 inform ation , and belief.

                                                              Before me,


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